           Case 8:20-bk-05750-CPM   Doc 221     Filed 10/21/22   Page 1 of 3




                   UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

In re:

QUAN DINH TRAN,                               Case No.: 8:20-bk-05750-CPM
                                              Chapter 7
         Debtor.
                                      /

               CREDITOR’S NOTICE OF WITHDRAWAL OF
            OBJECTION TO DEBTOR’S CLAIMED EXEMPTIONS

         Creditor Q3 Investments Recovery Vehicle, LLC (the “Recovery Vehicle”),

hereby gives notice it is withdrawing its Objections to Claim of Exemptions (Dkt.

131).

Dated: October 21, 2022

                                              Respectfully Submitted,

                                              /s/ Paul Thanasides
                                              Paul Thanasides
                                              Florida Bar No. 103039
                                              paul@mcintyrefirm.com
                                              clservice@mcintyrefirm.com
                                              Mary Thanasides
                                              Florida Bar No.: 107551
                                              mary@mcintyrefirm.com
                                              complexlit@mcintyrefirm.com
                                              McIntyre Thanasides Bringgold Elliott
                                                 Grimaldi Guito & Matthews, P.A.
                                              500 E. Kennedy Blvd., Suite 200
         Case 8:20-bk-05750-CPM     Doc 221    Filed 10/21/22   Page 2 of 3




                                              Tampa, FL 33602
                                              Telephone: 813.223.0000
                                              Facsimile: 813.225.1221 Attorneys
                                              for Q3 Investments Recovery
                                              Vehicle, LLC

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 21, 2022, a true and correct copy of

the foregoing was served on all parties receiving CM/ECF notification via the

Court’s CM/ECF system and by First Class U.S. Mail, Postage Prepaid, to the parties

listed below.

Quan Dinh Tran
1994 Carolina Cir. NE
St. Petersburg, FL 33703

U.S. Department of Justice
Attn: Attorney General of the United States
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

U.S. Attorney’s Office
Attn: Civil Process Clerk
400 North Tampa Street Suite 3200
Tampa, FL 33602

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Internal Revenue Service
Attn: Kevin Connelly
600 Arch St; Room 5200
Philadelphia, PA 19106


                                         2
        Case 8:20-bk-05750-CPM   Doc 221     Filed 10/21/22   Page 3 of 3




Internal Revenue Service
1111 Constitution Avenue, NW
Washington, DC 20224

                                           /s/ Paul Thanasides
                                           Attorney




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